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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

THERESA BASSETT and CAROL
KENNEDY, PETER WAYS and JOE
BREAKEY, JOLINDA JACH and BARBARA
RAMBER, DOAK BLOSS and GERARDO                     No. 2:12-cv-10038
ASCHERI DENISE MILLER and
MICHELLE JOHNSON,                                  HON. DAVID M. LAWSON

       Plaintiffs,                                 MAG. MICHAEL J. HLUCHANIUK
v

RICHARD SNYDER, in his official capacity
as Governor of the State of Michigan,

       Defendant.


Michael J. Steinberg (P43085)                      Amanda C. Goad
American Civil Liberties Union Fund of Michigan    American Civil Liberties Union
Attorney for Plaintiffs                            Foundation
2966 Woodward Avenue                               Attorney for Plaintiffs
Detroit, MI 48201                                  125 Broad Street, 18th Floor
(313) 578-6814                                     New York, NY 10004
                                                   (212) 549-2661

Margaret A. Nelson (P30342)                        John A. Knight
Mark E. Donnelly (P39281)                          American Civil Liberties Foundation
Attorney for Defendant                             Attorney for Plaintiffs
Michigan Department of Attorney General            180 N. Michigan Ave, Ste 2300
Public Employment, Elections & Tort Division       Chicago, IL 60601
P.O. Box 30736                                     (312) 201-9740
Lansing, MI 48909
(517) 373-6434
                                               /

            DEFENDANT’S RESPONSE TO PLAINTIFFS’ MOTION
                      TO COMPEL DISCOVERY

      Plaintiffs filed their amended complaint [R. 1] on February 17, 2012,

challenging the constitutionality of 2011 PA 297, M.C.L. 15.581, et. seq., and

requesting a preliminary injunction. On March 2, 2012, in lieu of filing an answer,
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Defendant filed a motion to dismiss Plaintiffs’ amended complaint [R. 15]. The

motion was not fact based, but rather was brought raising pure questions of law.

Defendant filed a corrected motion to dismiss on March 5, 2012 [R. 17].

      On March 7, 2012, Plaintiffs filed a motion for preliminary injunction [R. 18].

On March 9, 2012, after a case conference with the parties, this Court issued a

Preliminary Case Management and Scheduling Order [R. 26]. Among other

deadlines, initial discovery related to the pending motions was to be completed by

May 15, 2012, and arguments were scheduled for June 29, 2012. These dates were

later amended to May 29, 2012, and August 7, 2012, respectively.

      The parties were initially under the impression that this preliminary phase

of discovery was limited and did not include depositions. After consulting the

scheduling order, the parties confirmed that there was no specific limitations set

forth in the order. The parties agreed not to seek clarification of the order but,

rather, would involve the Court in discovery disputes only if a party felt it was

necessary. The parties have engaged in considerable discovery since the scheduling

conference. In particular, Plaintiffs have submitted extensive written discovery to

the Defendant that has required a considerable amount of time and expense to

answer.

      Plaintiffs have now directed a Fed. R. Civ. P. 30(b)(6) video deposition notice

to the Governor’s office identifying the following areas of inquiry:

             (a) The State’s proffered justifications for PA 297; and

             (b) Internal and external communications by the State and/or its

      agents regarding the bills resulting in PA 297, plans or requests for passage

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       of such bills, and/or regarding PA 297, or its effects, before and after its

       passage.

       Defendant objects to the deposition. Not only will any 30(b)(6) deponent be

unable to provide any particular insight into the origins and motivations behind PA

297 as it was a legislative—not an executive—initiative, the deponent would be

unable to offer any insight into the meaning behind the written communications

provided. At best, the deponent would be left to offer an interpretation of the

documentation already provided. The deposition would be a foolish and useless, but

expensive, undertaking.

       To the best of Defendant’s knowledge, Plaintiffs have been provided all of the

information the executive branch has regarding PA 297. Plaintiffs’ pursuit of a

video deposition on these two issues does not further any legitimate discovery need

at this preliminary stage; is unreasonably cumulative or duplicative of discovery

already provided; is designed to annoy and/or embarrass the Defendant; and the

burden or expense of associated with the proposed discovery outweighs its likely

benefit, considering the needs of the case, the amount in controversy, the parties’

resources, the importance of the issues at stake in the action and the importance of

the discovery in resolving the issues. Fed. R. Civ. P. 26(b)(2)(C).

       PA 297 limits the benefits a public employer may provide by prohibiting

medical benefits or other fringe benefits for an individual currently residing in the

same residence as a public employee. M.C.L. 15.583. Plaintiffs allege PA 297

denies due process and equal protection to same-sex domestic partners by

prohibiting public employers from providing those benefits. Because public

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employer provided medical benefits is not a constitutionally guaranteed

fundamental right (see, generally, Board of Regents v. Roth, 408 U.S. 564,

577(1972)) and sexual orientation is not a protected classification (Davis v. Prison

Health Services, et al 2012 U.S. App. LEXIS 9548, 2012 FED App. 131P (6th Cir.

May 10, 2012)), the underlying legal issue in this case is whether there is a rational

basis for PA 297. Plaintiff must negate every conceivable basis that would support

the PA 297 or demonstrate that it was motivated by animus or ill-will. Warren v.

City of Athens, 411 F.3d 697, 711 (6th Cir. 2005).

      Notwithstanding some of the language in their motion to compel, Plaintiffs’

counsel have repeatedly told defense counsel that the 30(b)(6) deposition sought is

not an attempt to inquire into the individual or collective intent of Michigan’s

legislators. And the notice directed to the Governor is careful to ask for a deposition

on the state’s “proffered justifications for PA 297”. So this motion is not about

whether Plaintiffs could engage in discovery concerning the legislature’s intent or

whether the legislature was motivated by animus.

      Here, Defendant has provided the legislative history of PA 297 documenting

that the rationale behind the legislation was two-fold: it served to both uphold the

will of the voters’ passage of Michigan’s marriage amendment, Const. 1963, Art. I, §

25 and demonstrate fiscal restraint by helping to reign in the costs of public

employee benefits. And Defendant has provided every conceivable financial

document concerning the state’s budget requested by Plaintiffs. Similarly,

Defendant has provided every conceivable correspondence concerning PA 297 that




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exists within the executive branch requested by Plaintiffs—except those for which a

privilege has been asserted.

      There is nothing a 30(b)(6) deponent can provide to Plaintiffs beyond what

has already been provided. The deponent will spend his or her time identifying

documents already produced with little or no insight into their content. And the

proffered justifications are essentially self–evident. It is axiomatic that it will cost a

public employer less money to provide health insurance to fewer people. Plaintiffs

have all of the documentation they need to argue that the savings to public

employers is de minimus if they wish. This fact is aptly demonstrated by the

voluminous supplemental filing by Plaintiffs on June 8, 2012, in support of their

motion for preliminary injunction [R. 38].

      Similarly, whether a law that conceivably benefits only traditional marriage

has a rational basis to a legitimate government purpose is a legal question.

Discovery is unnecessary. On this issue, it is undisputed that in 2004, the Michigan

Constitution was amended—by voter initiative— to add Mich. Const. 1963, Art. 1,

§25, which provides that the “union of one man and one woman in marriage shall be

the only agreement recognized as a marriage or similar union for any purpose.”

Moreover, the Michigan Supreme Court affirmed that Art. 1, §25 prohibits public

employers from providing benefits to same-sex domestic partners that were defined

in terms of their gender and lack of close blood connection. National Pride at Work

v. Granholm, 481 Mich. 56 (2008). And as a result, some public employers revised and

expanded their health insurance policies to provide benefits to another “qualified

adult” in order to comply with (or circumvent) the National Pride decision. The

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legislature responded with PA 297 in an effort to uphold the will of Michigan’s

citizenry when they voted for the marriage amendment (as well as encourage fiscal

restraint among public employers).

      At this stage of the litigation, there is simply no need for the requested

deposition. The parties’ pending motions are largely questions of law for which the

additional requested discovery has additional relevance or bearing on those

motions. The requested 30(b)(6) deposition is unreasonably cumulative and

duplicative of discovery already provided; is designed to annoy and/or embarrass

the Defendant; and the burden or expense associated with it outweighs its likely

benefit.

      Defendant respectfully requests that this Court deny Plaintiffs’ motion to

compel discovery and relieve him from any duty to respond to the Rule 30(b)(6)

deposition notice.

                                       Respectfully submitted,

                                       BILL SCHUETTE
                                       Attorney General

                                       s/ Mark E. Donnelly
                                       Margaret A. Nelson (P30342)
                                       Mark E. Donnelly (P39281)
                                       Attorneys for Defendant
                                       Michigan Department of Attorney General
                                       Public Employment, Elections & Tort Div
                                       P.O. Box 30736
                                       Lansing, MI 48909
                                       Primary E-mail: donnellym@michigan.gov
                                       (P39281)

Dated: June 8, 2012




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                                       CERTIFICATE OF SERVICE

I hereby certify that on June 8, 2012, I electronically filed the foregoing paper with
the Clerk of the Court using the ECF system which will send notification of such.

                                                 s/ Mark E. Donnelly
                                                 Mark E. Donnelly (P39281)
                                                 Attorney for Defendant
                                                 Michigan Department of Attorney General
                                                 Public Employment, Elections & Tort Div
                                                 P.O. Box 30736
                                                 Lansing, MI 48909
                                                 (517) 373-6434

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